









02-10-323-CV














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COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

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NO. 02-10-00323-CV 

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  B.D. Baker Home Construction and
  Brent Baker
  
  
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  APPELLANTS
  
 
 
  
  &nbsp;
  V.
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  Praxedis De La Garza IV and Sara
  Maxwell
  
  
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  APPELLEES 
  
 


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FROM THE
43rd District Court OF Parker
COUNTY

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MEMORANDUM OPINION[1] AND
JUDGMENT

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On November
3, 2010, we notified appellants
that the trial court clerk responsible for preparing the record in this appeal
had informed this court that arrangements had not been made to pay for the
clerk=s
record as required by Texas Rule of Appellate Procedure 35.3(a)(2).&nbsp; See Tex.
R. App. P. 35.3(a)(2).&nbsp;
We stated that we would dismiss the appeal for want of prosecution
unless appellants,
within fifteen days, made arrangements to pay for the clerk=s
record and provided this court with proof of payment.

Because
appellants have not made payment arrangements
for the clerk=s
record, it is the opinion of the court that the appeal should be dismissed for
want of prosecution.&nbsp; Accordingly, we
dismiss the appeal.&nbsp; See Tex. R.
App. P. 37.3(b), 42.3(b).

Appellants shall pay all costs of the
appeal, for which let execution issue.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER CURIAM

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PANEL:&nbsp; DAUPHINOT, GARDNER,
and WALKER, JJ.

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DELIVERED:&nbsp; December 2, 2010











[1]See Tex. R. App. P. 47.4.







